Case 1:04-cv-01163-.]DT-STA Document 15 Filed 04/28/05 Page 1 of 2 Page|D 21

IN THE UNI'I`ED STATES DISTRICT COURT FOR THE WES'I`ERN DISTRICT OF
TENNESSEE, EASTERN DIVISION

    

CARL EDWARDS and wife, )
CoNNIE EDWARDS, § 3 m
y §§
Plaincifrs, § ., 7 §§ § §
t J CD ` _`
vs. ) Case No. 04-1163 -c. §§ v t l
) JURY DEMAND §§ §§ 3
JosEPH DALE DOLLINS, ) §$£g"_:j 99 §§
PHILLIP E. DoLLINs, and ) z §3@ 32 I<“>
DOLLINS CONSTRUCTION, )
)
Defendants. )

ORDER OF COMPROMISE AND DISMISSAL
It appearing to the Court, as evidenced by the signatures of counsel for the parties below,
that the parties are in agreement that all matters in controversy herein have been compromised
and settled, it is hereby ORDERED that this case is dismissed With prejudice

Each party will bear its own costs.

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ENTERED this the;Q day of Q/',M/LL ,20({

UNITED s TES 'DIS'TRICT COURT IUDGE
APPRovED FoR ENTRY;

/%/. ‘-’-7 @Q-/x/g
Gregory A. F(cetririjak /
HILL-BOREN, P.C.

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MM,/\M/

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(615) 843-0300 Thls document entered on the dockets

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Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
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Honorable J ames Todd
US DISTRICT COURT

